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 1     Joseph R. Re (Bar No. 134479)
       joseph.re@knobbe.com
 2     Stephen C. Jensen (Bar No. 149894)
       steve.jensen@knobbe.com
 3     Sheila N. Swaroop (Bar No. 203476)
       sheila.swaroop@knobbe.com
 4     Irfan A. Lateef (Bar No. 204004)
       irfan.lateef@knobbe.com
 5     Benjamin A. Katzenellenbogen (Bar No. 208527)
       ben.katzenellenbogen@knobbe.com
 6     Brian C. Claassen (Bar No. 253627)
       brian.claassen@knobbe.com
 7     Stephen W. Larson (Bar No. 240844)
       KNOBBE, MARTENS, OLSON & BEAR, LLP
 8     2040 Main Street, Fourteenth Floor
       Irvine, CA 92614
 9     Phone: (949) 760-0404
       Fax: (949) 760-9502
10
       Adam B. Powell (Bar. No. 272725)              Brian C. Horne (Bar No. 205621)
11     adam.powell@knobbe.com                        brian.horne@knobbe.com
       Daniel P. Hughes (Bar No. 299695)             Mark D. Kachner (Bar No. 234192)
12     daniel.hughes@knobbe.com                      mark.kachner@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP            KNOBBE, MARTENS, OLSON & BEAR, LLP
13     3579 Valley Centre Drive                      1925 Century Park East, Suite 600
       San Diego, CA 92130                           Los Angeles, CA 90067
14     Phone: (858) 707-4000                         Phone: (310) 551-3450
       Fax: (858) 707-4001                           Fax: (310) 551-3458
15
       Attorneys for Plaintiffs,
16     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17     [Counsel for Apple appears on next page]
18                      IN THE UNITED STATES DISTRICT COURT
19                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                                  SOUTHERN DIVISION
21      MASIMO CORPORATION,                       ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and               )
22      CERCACOR LABORATORIES, INC.,              ) Hon. James V. Selna
        a Delaware corporation                    ) Magistrate Judge John D. Early
23                                                )
                    Plaintiffs,                   ) JOINT SUBMISSION
24                                                ) REGARDING POSITIONS ON
              v.                                  ) TRIAL SCHEDULE
25                                                )
        APPLE INC., a California corporation      )
26                                                )
                    Defendant.                    )
27                                                )
                                                  )
28                                                )
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 1     MARK D. SELWYN, SBN 244180
       mark.selwyn@wilmerhale.com
 2     THOMAS G. SPRANKLING, SBN 294831
       thomas.sprankling@wilmerhale.com
 3     WILMER CUTLER PICKERING
       HALE AND DORR LLP
 4     2600 El Camino Real, Suite 400
       Palo Alto, CA 94306
 5     Tel.: 650.858.6000 / Fax: 650.858.6100
 6     JOSHUA H. LERNER, SBN 220755
       joshua.lerner@wilmerhale.com
 7     WILMER CUTLER PICKERING
       HALE AND DORR LLP
 8     One Front Street, Suite 3500
       San Francisco, CA 94111
 9     Tel.: 628.235.1000 / Fax: 628.235.1001
10     AMY K. WIGMORE, pro hac vice
       amy.wigmore@wilmerhale.com
11     WILMER CUTLER PICKERING
       HALE AND DORR LLP
12     2100 Pennsylvania Ave NW
       Washington, DC 20037
13     Tel.: 202.663.6000 / Fax: 202.663.6363
14     JOSEPH J. MUELLER, pro hac vice
       joseph.mueller@wilmerhale.com
15     SARAH R. FRAZIER, pro hac vice
       sarah.frazier@wilmerhale.com
16     WILMER CUTLER PICKERING
       HALE AND DORR LLP
17     60 State Street
       Boston, MA 02109
18     Tel.: 617.526.6000 / Fax: 617.526.5000
19     NORA Q.E. PASSAMANECK, pro hac vice
       nora.passamaneck@wilmerhale.com
20     WILMER CUTLER PICKERING
       HALE AND DORR LLP
21     1225 Seventeenth Street, Suite 2600
       Denver, CO 80202
22     Tel.: 720.274.3152 / Fax: 720.273.3133
23     BRIAN A. ROSENTHAL, pro hac vice
       brosenthal@gibsondunn.com
24     GIBSON, DUNN & CRUTCHER LLP
       200 Park Avenue
25     New York, NY 10166-0193
       Tel.: 212.351.2339 / Fax: 212.817.9539
26
27
28
     Case 8:20-cv-00048-JVS-JDE Document 1943 Filed 03/22/24 Page 3 of 7 Page ID
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 1     KENNETH G. PARKER, SBN 182911
       ken.parker@haynesboone.com
 2     HAYNES AND BOONE, LLP
       660 Anton Boulevard, Suite 700
 3     Costa Mesa, CA 92626
       Tel.: 650.949.3014 / Fax: 949.202.3001
 4
       Attorneys for Defendant Apple Inc.
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 1           As directed by the Court during the February 26, 2024 hearing, Plaintiffs Masimo
 2     Corporation and Cercacor Laboratories, Inc. (“Masimo”) and Defendant Apple Inc.
 3     (“Apple”) met and conferred on March 15, 2024, to discuss a proposed trial schedule for
 4     resolving Masimo’s patent infringement claims. The parties’ competing proposals are
 5     provided in the below table. The parties respectfully request that the Court accept the
 6     attached 3-page statements explaining the reasons behind the parties’ proposals.
 7                     Event                    Masimo Proposed          Apple Proposed
 8                                                 Schedule                Schedule
        Narrow number of asserted claims to     N/A (not in original      April 1, 2024
 9
        no more than 8 claims per patent            schedule)
10
        Infringement Contentions                  April 15, 2024          April 29, 2024
11
        (Patent L.R. 3-1 and 3-2)
12
        Invalidity Contentions                     May 6, 2024            June 10, 2024
13
        (Patent L.R 3-3 and 3-4)
14
        Exchange of Proposed Terms for             May 10, 2024           April 8, 2024
15      Construction
16      (Patent L.R. 4-1)
17      Exchange of Preliminary Claim              May 17, 2024           April 15, 2024
        Constructions and Extrinsic
18      Evidence
19      (Patent L.R. 4-2)
20      Joint Markman Prehearing Statement         May 24, 2024           April 29, 2024
21      (Patent L.R. 4-3)
22      Simultaneous Markman Opening               June 3, 2024           May 29, 2024
        Briefs
23
        (Patent L.R. 4-5)
24
        Damages Contentions                     N/A (not in original      July 10, 2024
25                                                  schedule)
        (Patent L.R. 3-8)
26
        Responsive Damages Contentions          N/A (not in original     August 9, 2024
27                                                  schedule)
        (Patent L.R. 3-9)
28
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 1                     Event                   Masimo Proposed          Apple Proposed
 2                                                Schedule                Schedule
        Damages Contentions Meeting            N/A (not in original      August 23, 2024
 3
        (Patent L.R. 3-10)                         schedule)
 4
        Simultaneous Markman Response             June 17, 2024           June 12, 2024
 5      Briefs, Tutorials and Presentation
 6      Materials
 7      (Patent L.R. 4-5)

 8      Markman hearing                           July 1, 2024            June 26, 2024
                                               (or such other date       (Subject to the
 9
                                               as the Court deems      convenience of the
10                                                   proper)            Court’s calendar)
11      Close of Fact Discovery                   July 8, 2024         September 23, 2024
12                                                July 15, 2024       30 days after Markman
        Opening Expert Reports
                                                                               order
13
        Final Infringement Contentions            July 15, 2024           July 15, 2024
14
        Final Invalidity Contentions              July 15, 2024          August 12, 2024
15
                                                  July 29, 2024       21 days after opening
16      Rebuttal Expert Reports
                                                                          expert reports
17                                               August 5, 2024       14 days after rebuttal
        Reply Expert Reports
18                                                                       expert reports

19                                              August 19, 2024         21 days after reply
        Close of Expert Discovery
                                                                          expert reports
20
        Law and Motion (motions filed no        August 26, 2024       45 days after close of
21      later than) (concerning patent                                  expert discovery
22      infringement claims and defenses
        only; one per side absent prior
23      approval by the Court at least seven
24      days in advance of filing date)

25                                             September 23, 2023 30 days after Law and
                                                                     Motion deadline
26      Law and Motion Hearing                                           (Subject to the
27                                                                     convenience of the
                                                                        Court’s calendar)
28
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 1                     Event                    Masimo Proposed           Apple Proposed
 2                                                 Schedule                 Schedule
                                                   N/A (already         45 days before pretrial
 3      ADR Deadline
                                                    complete)                conference
 4
        Rule 16-2 Meeting of Counsel            N/A (not in original 40 days before pretrial
 5      Deadline                               schedule; set by rule)     conference
 6                                             September 30, 2024 4 weeks before pretrial
        Motions In Limine
                                                                       conference
 7
        Meet and Confer regarding Jury          N/A (not in original     30 days before trial
 8      Instructions and Objections            schedule; set by rule)
 9                                              N/A (not in original 3 weeks before pretrial
        Motion in Limine Opposition Briefs
10                                             schedule; set by rule)     conference
11      Lodge Pretrial Conf. Order; File         October 14, 2024       21 days before pretrial
        Memo of Contentions of Fact and                                      conference
12      Law; Exhibit List; Witness List;
13      Status Report re Settlement
                                                N/A (not in original 2 weeks before pretrial
14      Motion in Limine Reply Briefs
                                               schedule; set by rule)     conference
15      Pretrial Conference: Hearing on          October 28, 2024        7 days prior to trial
16      Motions in Limine; File Agreed
        Upon Set of Jury Instructions and
17      Verdict Forms and Joint Statement
18      re Disputed Instructions and Verdict
        Forms; File Proposed Voir Dire Qs
19      and Agreed-to Statement of Case
20      Lodge Deposition Designations            First day of trial        First day of trial
21                                              November 5, 2024                 TBD
22      Jury Trial                              (or such other date        (Subject to the
23                                              as the Court deems       convenience of the
                                                      proper)             Court’s calendar)
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                                     #:161765



 1                                         KNOBBE, MARTENS, OLSON & BEAR, LLP
 2
 3      Dated: March 22, 2024              By: /s/ Adam B. Powell
                                                    Joseph R. Re
 4                                                  Stephen C. Jensen
                                                    Sheila N. Swaroop
 5                                                  Brian C. Horne
                                                    Irfan A. Lateef
 6                                                  Benjamin A. Katzenellenbogen
                                                    Brian C. Claassen
 7                                                  Stephen W. Larson
 8                                                  Attorneys for Plaintiffs
                                                    MASIMO CORPORATION and
 9                                                  CERCACOR LABORATORIES, INC.
10
                                            WILMER CUTLER PICKERING HALE AND
11                                          DORR LLP
12
13      Dated: March 22, 2024              By: /s/ Mark D. Selwyn
14                                                  Mark D. Selwyn
                                                    Thomas G. Sprankling
15                                                  Joshua H. Lerner
                                                    Amy K. Wigmore
16                                                  Joseph J. Mueller
                                                    Sarah R. Frazier
17                                                  Nora Passamaneck
                                                    Brian A. Rosenthal
18                                                  Kenneth G. Parker

19                                                  Attorneys for Defendant
                                                    APPLE INC.
20
                                    FILER’S ATTESTATION
21
             Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
22
       concurrence in the filing of this document has been obtained from all signatories above.
23
24
       Dated: March 22, 2024           By: /s/ Adam B. Powell
25
26
27
28
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